     Case 1:03-md-01570-GBD-SN Document 9345 Filed 09/15/23 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK
                                                                  03-md-1570 (GBD)(SN)
  In re Terrorist Attacks on September 11, 2001
                                                                        ECF Case

This document relates to: All Actions


    DECLARATION OF ROBERT T. HAEFELE TRANSMITTING EVIDENCE IN
 SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ JOINT MOTION TO
  EXCLUDE THE EXPERT TESTIMONY OF EVAN KOHLMANN AND MATTHEW
   LEVITT [ECF NO. 9246], AND TO DEFENDANT YASSIN ABDULLAH KADI’S
  MOTION TO EXCLUDE THE TESTIMONY OF VICTOR COMRAS [ECF NO. 9248]

       I, Robert T. Haefele, pursuant to 28 U.S.C. §1746, declare, under penalty of perjury that, to

the best of my knowledge, the following statements are true and correct:

       1.       I am an attorney admitted to practice in the above-captioned matter, a member of

the Plaintiffs’ Executive Committees in this MDL, and associated with the law firm Motley Rice

LLC, counsel for plaintiffs in this MDL.

       2.       I submit this Declaration to identify the exhibits referenced in Plaintiffs’ Opposition

to Defendants’ Joint Motion to Exclude the Expert Testimony of Evan Kohlmann and Matthew

Levitt [ECF No. 9246], and to Defendant Yassin Abdullah Kadi’s Motion to Exclude the Testimony

of Victor Comras [ECF No. 9248].

       3.       Attached to this Declaration are true and correct copies of the following exhibits

referenced in Plaintiffs’ Memorandum of Law filed with this declaration.

 Ex. 1 (Kohlmann Rpt.)         Expert Report of Evan Francois Kohlmann (served Mar. 10, 2020)

 Ex. 2 (Revisions to           Correspondence to Defense Counsel enclosing revised page 23 (¶ 71) and
 Kohlmann Rpt.)                page 58 (n. 295) (Oct. 18, 2021)
 Ex. 3 (Kohlmann Rebuttal
                               Rebuttal Report of Evan Francois Kohlmann (Feb. 2, 2021)
 Rpt.)
    Case 1:03-md-01570-GBD-SN Document 9345 Filed 09/15/23 Page 2 of 3




Ex. 4 (CV of Kohlmann)         Curriculum Vitae of Evan Francois Kohlmann

Ex. 4a (Kohlmann Kassir        Curriculum Vitae of Evan Francois Kohlmann submitted in United States
CV)                            v. Kassir, 1:04-cr-00356-AT (S.D.N.Y. 2009), ECF No. 67.

Ex. 5 (Levitt Rpt.)            Expert Report of Dr. Matthew Levitt (Mar. 9, 2020)

Ex. 6 (Levitt Rebuttal Rpt.)   Expert Rebuttal Report of Dr. Matthew Levitt (Jan 18, 2021)

Ex. 7 (Levitt CV)              Curriculum Vitae of Dr. Matthew Levitt

Ex. 8 (Gurulé Rpt.)            Expert Opinion Report of Prof. Jimmy Gurulé (Feb. 1, 2021)

Ex. 9 (Comras Rpt.)            Expert Report of Victor D. Comras (Oct. 29, 2020)

Ex. 10 (Comras Rebuttal        Expert Rebuttal Report of Victor D. Comras Concerning Yasin Kadi and
Rpt.)                          Wael Julaiden (Feb. 16, 2021)

Ex. 11 (Comras CV)             Curriculum Vitae of Victor Comras

                               Transcript of the Deposition of Evan Francois Kohlmann (Aug. 5, 6,
Ex. 12 (Kohlmann Tr.)
                               2021) – excerpted pages.

                               Transcript of the Deposition of Dr. Matthew Levitt (Apr. 7, 2021) –
Ex. 13 (Levitt Tr.)
                               excerpted pages.

                               Transcript of the Deposition of Victor D. Comras (July 23, 2021) –
Ex. 14 (Comras Tr.)
                               excerpted pages.

                               Transcript of the Deposition of Fahd Mohammad Sanad Alharbi (March
Ex. 15 (Al Harbi Tr.)
                               26, 2019) – excerpted pages

Ex. 16 (Ibrahim Abdullah       Transcript of the Deposition of Ibrahim Abdullah (October 21, 2019) –
Tr.)                           excerpted pages.

                               Transcript of the Deposition of John Barron (April 29, 2021) – excerpted
Ex. 17 (Barron Tr.)
                               pages.

                               Transcript of the Deposition of Jacob Vahid Brown (May 25, 2021) –
Ex. 18 (Brown Tr.)
                               excerpted pages.

                               Transcript of the Deposition of Yassin Abdullah Kadi (July 10, 2018) –
Ex. 19 (Kadi Tr.)
                               excerpted pages.

Ex. 20 (Hr’g Tr., June 26,     Transcript of June 26, 2023, Hearing in front of Magistrate Judge
2023)                          Netburn
Ex. 21 (PECs’ Oct. 12, 2021
Ltr to Salerno)             Plaintiffs’ Executive Committees’ Letter to Yassin Kadi’s counsel, Peter


                                                   2
     Case 1:03-md-01570-GBD-SN Document 9345 Filed 09/15/23 Page 3 of 3




                                 Salerno, regarding Victor Comras (Oct. 12, 2021).

 Ex. 22                          Excerpt of Al-Qaida’s Jihad in Europe: The Afghan-Bosnian Network.

                                 USA v. Osmakac, 8:12-CR-00045-MSS-AEP (M.D. Fl. 2012), ECF No.
 Ex. 23 (US v. Osmakac)
                                 270

 Ex. 24 (Georgetown SFS          Archived Georgetown School of Foreign Service “Majors and
 website)                        Certificates” Website – Timestamped October 3, 2002.

                                 FBI Awlaki Surveillance Log, Dec. 18, 2001 (previously filed at ECF No.
 Ex. 25 (FBI Surv. Log)
                                 3912-43)

 Ex. 26 (Certificate             Pamphlet of Certificate Requirements in Islam and Muslim-Christian
 Requirements)                   Understanding from Georgetown’s School of Foreign Service.

 Ex. 27 (Minor                   Minor Requirements in Islam and Muslim-Christian Understanding from
 Requirements)                   Georgetown’s School of Foreign Service.

                                 Islamic Association of North America (IANA) W. Coast List of Speakers,
 Ex. 28 (IANA Speakers)
                                 2000.

                                 Transcript of the Deposition of Jonathan Marks (July 22, 2021) –
 Ex. 29 (Marks Tr.)
                                 excerpted pages.

                                 Plaintiffs’ responsive catalog to Defendants’ catalog that was submitted as
 Ex. 30
                                 Exhibits 1 at ECF No. 9254-1 (and 9250-1).

          I declare under penalty of perjury that, to the best of my knowledge, the foregoing is true

and correct.

Executed in Mount Pleasant, South Carolina, on September 15, 2023




                                                  /s/
                                                  Robert T. Haefele, Esq.




                                                      3
